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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 ANTONIO BELK, VICTOR THOMAS,
 CYNTHIA CHUBB, CARMEN
 CONSOLINO, ANDRES GARCIA and
 ARETHA GERMANY,

               Plaintiffs,
                                                      Case No. 17-cv-09011
        v.
                                                      The Honorable Judge
                                                      Robert M. Dow, Jr.
 THOMAS J. DART, in his individual
 capacity and official capacity as Sheriff of        Magistrate Judge Sidney I. Schenkier
 Cook County, Illinois, ZELDA
 WHITTLER, in her official and individual
 capacities, and the COUNTY OF COOK, a
 unit of local government as joint employer,

               Defendants.                            Plaintiffs Demand Trial by Jury

             NOTICE OF SERVICE OF PLAINTIFFS’ MIDP MANDATORY
                           INITIAL DISCLOSURES

       Plaintiffs hereby give due notice, through undersigned counsel, Cass T. Casper, TALON
LAW, LLC, that they have served this Notice and the required Mandatory Initial Disclosures
under this Court’s Mandatory Initial Discovery Standing Order on counsel of record for the
Defendants on October 17, 2018 via electronic service to the email addresses as follows:

Justin Leinenweber, Esq.           justin@ilesq.com
Ethan Emery White, Esq.            ewhite@emerylawltd.com
Michael Kuczwara, Jr., Esq.        mkuczwara@lanermuchin.com
Jeffrey Fowler, Esq.               jfowler@lanermuchin.com
Joseph Gagliardo, Esq.             jgagliardo@lanermuchin.com


                                                  Dated: October 17, 2018
Case: 1:17-cv-09011 Document #: 50 Filed: 10/17/18 Page 2 of 3 PageID #:334



                                        /s Cass T. Casper
                                        ____________________________________
                                        Cass T. Casper
                                        One of Plaintiffs’ Attorneys
                                        TALON LAW, LLC
                                        79 West Monroe Street, Suite 1213
                                        Chicago, Illinois 60603
                                        P: (312) 351-2478
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                                        E: ctc@talonlaw.com




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                              CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that he served this NOTICE OF
SERVICE OF PLAINTIFFS’ MIDP MANDATORY INITIAL DISCLOSURES and all
accompanying documents on the below-listed attorneys by electronic mail on October
17, 2018.

Justin Leinenweber, Esq.         justin@ilesq.com
Ethan Emery White, Esq.          ewhite@emerylawltd.com
Michael Kuczwara, Jr., Esq.      mkuczwara@lanermuchin.com
Jeffrey Fowler, Esq.             jfowler@lanermuchin.com
Joseph Gagliardo, Esq.           jgagliardo@lanermuchin.com



                                              s/ Cass T. Casper
                                              ______________________________
                                                  Cass T. Casper




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